
HENRY, Chief Judge,
concurring.
This case gives me pause. The Immigration Judge found Rev. Nalwamba’s testimony to be credible. A review of the kind of actions that he faced over many years is chilling, indeed: frequent detentions that were physically and psychologically abusive, some of them at gunpoint; several arrests, “the longest lasting four days,” Maj. Op. at 128 (emphasis supplied); the hunting down of the Reverend’s parishioners as they were thought to be opposed to the regime in power at the time; and frequent government searches. *132Under the present regime, he received three “official visits” from government officials in response to his public positions on land ownership. Id. at 128. They warned him not to be a “stumbling block” and apparently criticized him for providing assistance to a pregnant woman and her eight children. Id. Finally, rather than instruct his congregation to vote for the incumbent Museveni in the 2001 election, the Reverend encouraged his congregation members to make up their own educated minds during the election. Later that year, government officials forced him from his home at 2 a.m. He was marched to a “government clinic,” where he was interrogated, warned, and finally released. Id.
Given these acts of terror and harassment, we must determined whether Rev. Nalwamba was subjected to “persecution” as that term is defined by our precedent. The dictionary definition of pei'secution suggests that he was: For example, the American Heritage Dictionary defines to “persecute” as follows: “1. To oppress or harass with ill-treatment, especially because of race, religion, sexual orientation, or beliefs.” American Heritage Dictionary of The English Language 1350 (3d ed.1992). Under that definition, it seems to me, the Reverend’s aggregated abductions, detentions, interrogations, and threats against him qualify as persecution.
Our cases do seem to require very violent, pervasive harassment and even injury. Similar cases of harassment that have not resulted in a finding of persecution include: Sidabutar v. Gonzales, 503 F.3d 1116, 1118, 1124 (10th Cir.2007) (concluding that an Indonesian Christian man who had suffered repeated “beatings and robberies at the hands of Muslims” had not established past persecution); Jian Hui Li v. Keisler, 248 Fed.Appx. 852, 854 (10th Cir.2007) (affh'ming an immigration judge’s ruling that, even if true, the deprivation of petitioner’s right to education for three months and the broken arm he received during his fight with population control officials “constituted at most harassment and discrimination, but not past persecution within the meaning of the asylum statute”); Tulengkey v. Gonzales, 425 F.3d 1277, 1281 (10th Cir.2005) (affirming immigration judge’s decision that robbery of the Chinese Christian petitioner, “during which she was fondled and suffered an unspecified minor head injury, and her witnessing a Muslim mob eight years later steal food and rough up guests at a relative’s wedding” was insufficient evidence of past persecution); Lie v. Ashcroft, 396 F.3d 530, 536 (3d Cir.2005) (“[T]wo isolated criminal acts, perpetrated by unknown assailants, which resulted only in the theft of some personal property and a minor injury, [are] not sufficiently severe to be considered persecution.”) (cited with approval in Tulengkey, 425 F.3d at 1281); Eduard v. Ashcroft, 379 F.3d 182, 188 (5th Cir.2004) (“denigration, harassment, and threats” did not constitute persecution; nor did “morally reprehensible” discrimination) (internal quotation marks omitted) (cited with approval in Tulengkey, 425 F.3d at 1281); Zhu v. Gonzales, 465 F.3d 316, 318 (7th Cir.2006) (affirming an immigration judge’s decision that, when family planning commission ordered petitioner’s pregnant girlfriend to appear at hospital for forced abortion, when planning officials “kicked and struck [petitioner] with fists in an attempt to bring him to the police station; when he also was hit on the head with a brick, an injury that required seven stitches”; and when “officials asked him to turn himself in after seeking treatment,” the petitioner was not subjected to past persecution); Kapcia v. INS, 944 F.2d 702, 704-05, 708 (10th Cir.1991) (concluding that past persecution had not been demonstrated by an asylum applicant who had twice been detained for two-day periods *133during which he was beaten and interrogated, whose parents’ home had been searched, whose work locker had been repeatedly broken into, and who had been assigned poor work tasks, denied bonuses, and conscripted into the army, where he was constantly harassed).
Unlike the American Heritage definition, our circuit defines persecution as “the infliction of suffering or harm upon those who differ (in race, religion, or political opinion) in a way regarded as offensive,” and as “requirfing] more than just restrictions or threats to life and liberty.” Tulengkey, 425 F.3d at 1280 (quotation omitted). Under our precedent, persecution is “an extreme concept that does not include every sort of treatment our society regards as offensive.” Tanuwidjaja v. Holder, 352 Fed.Appx. 281, 283 (10th Cir.2009) (quoting Korablina v. INS, 158 F.3d 1038, 1044 (9th Cir.1998) (quotation omitted)); Guerrero-Hernandez v. Mukasey, 290 Fed.Appx. 130, 133 (10th Cir.2008) (same); Julianto v. Mukasey, 282 Fed.Appx. 697, 700 (10th Cir.2008) (same).
Our circuit’s narrower definition of persecution still affords considerable latitude to our immigration judges. As the majority clearly points out, our review is for substantial evidence, under which agency findings “are conclusive unless any reasonable adjudicator would be compelled to conclude to the contrary.” Maj. Op. at 129 (quoting Vicente-Elias v. Mukasey, 532 F.3d 1086, 1091 (10th Cir.2008)). Had I been the hearing judge in this matter, I believe I would have calculated differently. However, based on our deferential standard of review, I concur in the result. See also Dandan v. Ashcroft, 339 F.3d 567, 573-74 (7th Cir.2004) (describing substantial evidence, in the context of reversal, as “a high standard and one that is properly difficult to meet without powerful and moving evidence”).
